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 8                               IN THE UNITED STATES DISTRICT COURT

 9                          FOR THE EASTERN DISTRICT OF CALIFORNIA

10   ERNEST C. WALKER,

11                  Plaintiff,                      No. CIV S-04-2075 LKK DAD P

12          vs.

13   D. ALLBEE, et al.,

14                  Defendants.                     ORDER

15                                        /

16                  Plaintiff, a state prisoner proceeding pro se, has filed this civil rights action

17   seeking relief under 42 U.S.C. § 1983. The matter was referred to a United States Magistrate

18   Judge pursuant to 28 U.S.C. § 636(b)(1)(B) and Local General Order No. 262.

19                  On April 1, 2005, the magistrate judge filed findings and recommendations herein

20   which were served on plaintiff and which contained notice to plaintiff that any objections to the

21   findings and recommendations were to be filed within twenty days. Plaintiff has not filed

22   objections to the findings and recommendations.

23                  Although it appears from the file that plaintiff’s copy of the findings and

24   recommendations was returned, plaintiff was properly served. It is the plaintiff’s responsibility

25   to keep the court apprised of his current address at all times. Pursuant to Local Rule 83-182(f),

26   service of documents at the record address of the party is fully effective.

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 1                   The court has reviewed the file and finds the findings and recommendations to be

 2   supported by the record and by the magistrate judge’s analysis. Accordingly, IT IS HEREBY

 3   ORDERED that:

 4                   1. The findings and recommendations filed April 1, 2005, are adopted in full; and

 5                   2. This action is dismissed without prejudice.

 6   DATED: May 17, 2005.

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 8                                                        /s/Lawrence K. Karlton
                                                          UNITED STATES DISTRICT JUDGE
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